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5    Attorney for Defendant
     Minh Tham
6
                       IN THE UNITED STATES DISTRICT COURT
7
                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,         )   Case No. Cr.S-09-222 GEB
10                                     )
                  Plaintiff,           )   STIPULATION AND ORDER MODIFYING
11                                     )   CONDITION OF PRE-TRIAL RELEASE
          vs.                          )
12                                     )
                                       )
13   MINH THAM,                        )
                                       )
14                                     )
                  Defendant            )
15                                     )
16

17        On August 17, 2009, this Court released the above named
18
     defendant pre-trial on release conditions. For the reasons
19
     stated below, it is hereby stipulated and agreed between the
20
     parties, defendant Minh Tham, thorough his counsel, Michael B.
21
     Bigelow and the United States through its counsel, Heiko
22
     Coppola, that the conditions of pretrial release be modified as
23
     set forth below. This stipulation has been discussed with Pre-
24
     Trial Services Officer, Renee Basurto, and she concurs.
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1           At the request of the PreTrial Services Officer, and due to
2    a change in circumstances, it is agreed that Mr. Tham no longer
3
     be required to have a Third Party Custodian.
4
            Accordingly, It is stipulated that Condition Number 12 of
5
     Mr. Tham’s Conditions of Release be removed.
6
            All other conditions of pre trial release shall remain in
7
     effect.
8

9
     IT IS SO STIPULATED
10

11

12
     DATED: February 29, 2012                    /S/MICHAEL B. BIGELOW
                                                 Michael B. Bigelow
13                                               Attorney for Minh Tham

14
     DATED: February 29, 2012                    /S/ HEIKO COPPOLA
15                                               Heiko Coppola
                                                 Assistant United States Attorney
16

17
                    IT IS SO ORDERED
18

19
     Date: March 1, 2012

20

21

22

23
     Dad1:crim
     Tham0222.stipord-2.modify.cor
24

25




                                           -2-
